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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:06-cr-00323
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
LEODEGARIO LOPEZ-MEJIA,             )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 2, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Leodegario Lopez-Mejia entered a plea of guilty to Count One of the Indictment,

charging defendant with conspiracy to distribute more than fifty (50) kilograms of marijuana in

violation of 21 U.S.C. §§ 841(a) and (b)(1)(C), in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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               Regarding the factual basis for the plea, defendant admitted to facts that would

support that he either knew or could have foreseen that more than fifty (50) kilograms of marijuana

was involved in his relevant conduct, that is, renting a U-Haul van and storage space. He denied

personal knowledge of facts contained in ¶ 4 of the plea agreement, that there was approximately

1300 pounds involved in the total conspiracy among the defendants, but he agreed to this stipulation

and conceded that the government could prove this amount at trial.

               I therefore recommend that defendant's plea of guilty to Count One of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge. The clerk is directed to procure a transcript of the plea hearing for review by the District

Judge.



Date: May 3, 2007                                       /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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